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1    JOHN BALAZS, Bar No. 157287
     Attorney At Law
2    916 Second Street, Suite F
     Sacramento, California 95814
3    Telephone: (916) 447-9299
     John@Balazslaw.com
4
     Attorney for Defendant
5    JOSHUA COFFMAN
6
7
                           IN THE UNITED STATES DISTRICT COURT
8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,       )            CR. No. 08-0093-FCD
11                                   )
                    Plaintiff,       )            STIPULATION AND ORDER TO
12                                   )            DELETE SPECIAL CONDITION OF
          v.                         )            RELEASE #11 FOR DEFENDANT
13                                   )            JOSHUA COFFMAN
     JOSHUA COFFMAN,                 )
14                                   )
                                     )
15                  Defendant.       )
     _______________________________ )
16
17         Defendant Joshua Coffman, through his attorney John Balazs, and the United States,
18   through its attorney, Assistant U.S. Attorney Ellen V. Endrizzi, hereby stipulate and
19   request that the Court delete special condition #11 from Mr. Coffman’s “Special
20   Conditions of Release,” which was filed April 15, 2008 (document 75). All other
21   conditions shall remain in effect. U.S. Pretrial Services Officer Gina Faubion concurs
22   with this request.
23         The reason for this request is that the U.S. Pretrial services believes that the drug
24   and alcohol testing set forth as special condition number 11 is unnecessary in this case.
25   Mr. Coffman had only a slight history of marijuana use and has been extensively tested for
26   for over nine months with no positive drug tests.
27   ///
28   ///
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1          Thus, the parties stipulate that the court delete special condition number 11 from his
2    special conditions of release.
3          IT IS SO STIPULATED.
4
5    DATE: January 15, 2009                 /s/ John Balazs
                                            JOHN BALAZS
6                                           Attorney for Defendant
                                            JOSHUA COFFMAN
7
8
     DATE: January 15, 2009                 McGREGOR W. SCOTT
9                                           United States Attorney
10
11                                    By:   /s/ Ellen V. Endrizzi
                                            ELLEN V. ENDRIZZI
12                                          Assistant U.S. Attorney
13
14
15
           IT IS SO ORDERED.
16
17
     DATE: January 20, 2009                 /s/ Gregory G. Hollows
18                                          ____________________________
                                            HON. GREGORY G. HOLLOWS
19                                          U.S. Magistrate Judge
20   coffman.ord2
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